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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC

     Individual and Representative Plaintiﬀs,   [PROPOSED] STIPULATED
                                                PROTECTIVE ORDER FOR
       v.                                       LITIGATION INVOLVING PATENTS,
                                                HIGHLY SENSITIVE CONFIDENTIAL
META PLATFORMS, INC.,
                                                INFORMATION AND/OR TRADE
                                  Defendant.    SECRETS (FRCP 26(c)(1)(G), L.R. 7-1)




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1.      PURPOSES AND LIMITATIONS

        Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following

Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords from

public disclosure and use extends only to the limited information or items that are entitled to

confidential treatment under the applicable legal principles. The parties further acknowledge, as

set forth in Section 14.4 below, that this Stipulated Protective Order does not entitle them to file

confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that must be

followed and the standards that will be applied when a party seeks permission from the court to

file material under seal.

2.      DEFINITIONS

        2.1     Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.

        2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c).

        2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).

        2.4     [Intentionally left blank]

        2.5     Designating Party: a Party or Non-Party that designates information or items that



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it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE”.

       2.6     Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

       2.7     Expert: a person with specialized knowledge or experience in a matter pertinent to

the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or

as a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s

competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party

or of a Party’s competitor.

       2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

less restrictive means.

       2.9     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

extremely sensitive “Confidential Information or Items” representing computer code and

associated comments and revision histories, formulas, engineering specifications, or schematics

that define or otherwise describe in detail the algorithms or structure of software or hardware

designs, disclosure of which to another Party or Non-Party would create a substantial risk of

serious harm that could not be avoided by less restrictive means.

       2.10    House Counsel: attorneys who are employees of a party to this action. House


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Counsel does not include Outside Counsel of Record or any other outside counsel.

        2.11   Non-Party: any natural person, partnership, corporation, association, or other legal

entity not named as a Party to this action.

        2.12   Outside Counsel of Record: attorneys who are not employees of a party to this

action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.

        2.13   Party: any party to this action, including all of its officers, directors, employees,

consultants, retained experts, and Outside Counsel of Record (and their support staff).

        2.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.

        2.15   Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

        2.16   Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or as

“HIGHLY CONFIDENTIAL – SOURCE CODE.”

        2.17   Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

3.      SCOPE

        The protections conferred by this Stipulation and Order cover not only Protected Material

(as defined above), but also (1) any information copied or extracted from Protected Material; (2)


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all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

However, the protections conferred by this Stipulation and Order do not cover the following

information: (a) any information that is in the public domain at the time of disclosure to a

Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

a result of publication not involving a violation of this Order, another Court’s Order, unlawful

conduct, or a breach of a confidentiality obligation to the Designating Party, including becoming

part of the public record through trial or otherwise; and (b) any information known to the

Receiving Party prior to the disclosure or obtained by the Receiving Party after the disclosure

from a source who obtained the information lawfully and under no obligation of confidentiality

to the Designating Party. Any use of Protected Material at trial shall be governed by a separate

agreement or order.

4.     DURATION

       Even after final disposition of this litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

action, including the time limits for filing any motions or applications for extension of time

pursuant to applicable law.

5.     DESIGNATING PROTECTED MATERIAL

       5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care



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to limit any such designation to specific material that qualifies under the appropriate standards.

To the extent it is practical to do so, the Designating Party must designate for protection only

those parts of material, documents, items, or oral or written communications that qualify – so

that other portions of the material, documents, items, or communications for which protection is

not warranted are not swept unjustifiably within the ambit of this Order.

       Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.

       If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection at all or do not qualify for the level of protection

initially asserted, that Designating Party must promptly notify all other parties that it is

withdrawing the mistaken designation.

       5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

       (a) for information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains

protected material. If only a portion or portions of the material on a page qualifies for protection,


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to the extent it is practical, the Producing Party also must clearly identify the protected portion(s)

(e.g., by making appropriate markings in the margins) and must specify, for each portion, the

level of protection being asserted.

       For Protected Material that is produced in native electronic format, the designated legend

must be included in the file name and on any slipsheets when produced.

       A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

copied and produced, the Producing Party must determine which documents, or portions thereof,

qualify for protection under this Order. Then, before producing the specified documents, the

Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE) to each page that contains Protected Material. If only a portion or portions of the

material on a page qualifies for protection, the Producing Party also must clearly identify the

protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for

each portion, the level of protection being asserted. For avoidance of doubt, this paragraph does

not apply to the production of material designated as “HIGHLY CONFIDENTIAL – SOURCE

CODE” prior to being offered for inspection as set forth in Section 9 of this Order.

       (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

Designating Party identify on the record, before the close of the deposition, hearing, or other

proceeding, all protected testimony and specify the level of protection being asserted. When it is


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impractical to identify separately each portion of testimony that is entitled to protection and it

appears that substantial portions of the testimony may qualify for protection, the Designating

Party has up to 21 days to identify the specific portions of the testimony as to which protection is

sought and to specify the level of protection being asserted. Only those portions of the testimony

that are appropriately designated for protection within the 21 days shall be covered by the

provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify, at

the deposition or up to 21 days afterwards, that the entire transcript shall be treated as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

       Parties shall give the other parties notice if they reasonably expect a deposition, hearing,

or other proceeding to include Protected Material so that the other parties can ensure that only

authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

(Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

       Transcripts containing Protected Material shall have an obvious legend on the title page

that the transcript contains Protected Material, and the title page shall be followed by a list of all

pages (including line numbers as appropriate) that have been designated as Protected Material

and the level of protection being asserted by the Designating Party. The Designating Party shall

inform the court reporter of these requirements. Any transcript that is prepared before the

expiration of a 21-day period for designation shall be treated during that period as if it had been

designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless

otherwise agreed. After the expiration of that period, the transcript shall be treated only as

actually designated.


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       (c) for information produced in some form other than documentary and for any other

tangible items, that the Producing Party affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend “CONFIDENTIAL”

or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

CONFIDENTIAL – SOURCE CODE”. If only a portion or portions of the information or item

warrant protection, the Producing Party, to the extent practicable, shall identify the protected

portion(s) and specify the level of protection being asserted.

       5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

designate qualified information or items does not, standing alone, waive the Designating Party’s

right to secure protection under this Order for such material. Upon timely correction of a

designation, the Receiving Party must make reasonable efforts to assure that the material is

treated in accordance with the provisions of this Order.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

       6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by providing written notice of each designation it is challenging and describing the basis

for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

notice must recite that the challenge to confidentiality is being made in accordance with this


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specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

good faith and must begin the process by conferring directly (in voice to voice dialogue; other

forms of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain the basis for its belief that the confidentiality

designation was not proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the circumstances, and, if no change in designation is offered,

to explain the basis for the chosen designation. A Challenging Party may proceed to the next

stage of the challenge process only if it has engaged in this meet and confer process first or

establishes that the Designating Party is unwilling to participate in the meet and confer process in

a timely manner.

       6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Designating Party shall follow the dispute procedures outlined in the Discovery

Standing Order for Magistrate Judge Thomas S. Hixson, within 21 days of the initial notice of

challenge or within 14 days of the parties agreeing that the meet and confer process will not

resolve their dispute, whichever is earlier. Each such motion must be accompanied by a

competent declaration affirming that the movant has complied with the meet and confer

requirements imposed in the preceding paragraph. Failure by the Designating Party to follow

such procedures, including the required declaration within 21 days (or 14 days, if applicable),

shall automatically waive the confidentiality designation for each challenged designation. In

addition, the Challenging Party may follow the dispute procedures outlined in the Discovery

Standing Order for Magistrate Judge Thomas S. Hixson to challenge a confidentiality

designation at any time if there is good cause for doing so, including a challenge to the

designation of a deposition transcript or any portions thereof. Any motion brought pursuant to


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this provision must be accompanied by a competent declaration affirming that the movant has

complied with the meet and confer requirements imposed by the preceding paragraph.

       The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party’s

designation until the court rules on the challenge.

7.     ACCESS TO AND USE OF PROTECTED MATERIAL

       7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed

or produced by another Party or by a Non-Party in connection with this case only for

prosecuting, defending, or attempting to settle this litigation. Such Protected Material may be

disclosed only to the categories of persons and under the conditions described in this Order.

When the litigation has been terminated, a Receiving Party must comply with the provisions of

section 15 below (FINAL DISPOSITION).

       Protected Material must be stored and maintained by a Receiving Party at a location and

in a secure manner that ensures that access is limited to the persons authorized under this Order.

       7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

disclose any information or item designated “CONFIDENTIAL” only to:

       (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information


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for this litigation;

         (b) the officers, directors, and employees (including House Counsel) of the Receiving

Party to whom disclosure is reasonably necessary for this litigation and who have signed the

“Acknowledgment and Agreement to Be Bound” (Exhibit A);

         (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

reasonably necessary for this litigation and who have signed the “Acknowledgment and

Agreement to Be Bound” (Exhibit A);

         (d) the court and its personnel;

         (e) court reporters and their staff, professional jury or trial consultants,1 and Professional

Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

“Acknowledgment and Agreement to Be Bound” (Exhibit A);

         (f) during their depositions, witnesses in the action to whom disclosure is reasonably

necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this Stipulated Protective Order;

         (g) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information; and

         (h) any mediator who is assigned to this matter, and his or her staff, who have signed the




1
 Disclosure to mock jurors is acceptable with the signing of a confidentiality agreement with
provisions on dissemination and disclosure at least as strict as those included in this Protective
Order, and who have been hired by a trial consulting firm who has signed “Acknowledgment and
Agreement to Be Bound” (Exhibit A).

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“Acknowledgment and Agreement to Be Bound” (Exhibit A).

         7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and

“HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

disclose any information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:

         (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

for this litigation;

         (b) [Omitted.]

         (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this

litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed;

         (d) the court and its personnel;

         (e) court reporters and their staff, professional jury or trial consultants2 including mock

jurors and Professional Vendors to whom disclosure is reasonably necessary for this litigation

and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

         (f) the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information; and

         (g) any mediator who is assigned to this matter and his or her staff, who have signed the



2
 Disclosure to mock jurors of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
material, but not “HIGHLY CONFIDENTIAL – SOURCE CODE” material, is acceptable with
the signing of a confidentiality agreement with provisions on dissemination and disclosure at
least as strict as those included in this Protective Order, and who have been hired by a trial
consulting firm who has signed “Acknowledgment and Agreement to Be Bound” (Exhibit A).

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“Acknowledgment and Agreement to Be Bound” (Exhibit A).

         7.4     Procedures for Approving or Objecting to Disclosure of “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE” Information or Items to Experts.

         (a)(1) [Intentionally left blank]

         (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating

Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information or

item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

“HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must make a

written request to the Designating Party that (1) identifies the general categories of “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE” information that the Receiving Party seeks permission to disclose to the Expert, (2) sets

forth the full name of the Expert and the city and state of his or her primary residence, (3)

attaches a copy of the Expert’s current resume, (4) identifies the Expert’s current employer(s),

(5) identifies each person or entity from whom the Expert has received compensation or funding

for work in his or her areas of expertise or to whom the expert has provided professional

services, including in connection with a litigation, at any time during the preceding five years,3

and (6) identifies (by name and number of the case, filing date, and location of court) any

litigation in connection with which the Expert has offered expert testimony, including through a

declaration, report, or testimony at a deposition or trial, during the preceding five years.




3
 If the Expert believes any of this information is subject to a confidentiality obligation to a third-
party, then the Expert should provide whatever information the Expert believes can be disclosed
without violating any confidentiality agreements, and the Party seeking to disclose to the Expert
shall be available to meet and confer with the Designating Party regarding any such engagement.

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       (b) A Party that makes a request and provides the information specified in the preceding

respective paragraphs may disclose the subject Protected Material to the identified Expert unless,

within 14 days of delivering the request, the Party receives a written objection from the

Designating Party. Any such objection must set forth in detail the grounds on which it is based.

       (c) A Party that receives a timely written objection must meet and confer with the

Designating Party (through direct voice to voice dialogue) to try to resolve the matter by

agreement within seven days of the written objection. If no agreement is reached, the Party

seeking to make the disclosure to the Expert may follow the dispute procedures outlined in the

Discovery Standing Order for Magistrate Judge Thomas S. Hixson, seeking permission from the

court to do so. Any such motion must describe the circumstances with specificity, set forth in

detail the reasons why the disclosure to the Expert is reasonably necessary, assess the risk of

harm that the disclosure would entail, and suggest any additional means that could be used to

reduce that risk. In addition, any such motion must be accompanied by a competent declaration

describing the parties’ efforts to resolve the matter by agreement (i.e., the extent and the content

of the meet and confer discussions) and setting forth the reasons advanced by the Designating

Party for its refusal to approve the disclosure.

       In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.

8.     PROSECUTION BAR

       Absent written consent from the Producing Party, any individual who receives access to

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

– SOURCE CODE” information shall not be involved in the prosecution of patents or patent


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applications relating to the subject matter of the highly confidential technical information to

which access is received by such individual, before any foreign or domestic agency, including

the United States Patent and Trademark Office (“the Patent Office”). For purposes of this

paragraph, “prosecution” includes directly or indirectly drafting, amending, advising, or

otherwise affecting the scope or maintenance of patent claims.4 To avoid any doubt,

“prosecution” as used in this paragraph does not include representing a party challenging a patent

before a domestic or foreign agency (including, but not limited to, a reissue protest, ex parte

reexamination, post-grant review, or inter partes review). This Prosecution Bar shall begin when

access to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

CONFIDENTIAL – SOURCE CODE” information is first received by the affected individual

and shall end two (2) years after final termination of this action.

9.       SOURCE CODE

         (a)     To the extent production of source code becomes necessary in this case, a

Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”

if it comprises or includes confidential, proprietary or trade secret source code.

         (b)     Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE

CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” information including the Prosecution Bar set forth in Paragraph

8, and may be disclosed only to the individuals to whom “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” information may be disclosed, as set forth in Paragraphs 7.3 and

7.4.




4
    Prosecution includes, for example, original prosecution, reissue and reexamination proceedings.

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       (c)     Any source code produced in discovery shall be made available for inspection in a

format allowing it to be reasonably reviewed and searched during normal business hours (9:00

am to 6:00 pm local time) or other mutually agreeable times at an office of the Producing Party’s

counsel (which will be in Palo Alto, California for Defendant) or another mutually agreed upon

location. The source code shall be made available for inspection on a secured computer (“Source

Code Computer”) in a secured room. Such inspection shall occur upon reasonable notice to the

Producing Party, which must not be less than two (2) business days in advance of the requested

inspection. While in the room containing the Source Code Computer, the Receiving Party is

prohibited from accessing any device with Internet access or network access to other computers,

and the Receiving Party shall not copy, remove, or otherwise transfer any portion of the source

code onto any recordable media or recordable device. The Producing Party may visually monitor

the activities of the Receiving Party’s representatives during any source code review, but only to

ensure that there is no unauthorized recording, copying, or transmission of the source code. All

persons entering the inspection room where the Source Code is being viewed shall sign a log that

includes the names of persons who enter the room and the dates and times when they arrive and

depart for the day.

       (d)     The Receiving Party may request paper copies of limited portions of source code

that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or

other papers, or for deposition or trial, but shall not request paper copies for the purposes of

reviewing the source code other than electronically as set forth in paragraph (c) in the first

instance. Within three (3) business days of such request, the Producing Party shall provide copies

of all such source code in paper form, including bates numbers and the label “HIGHLY

CONFIDENTIAL - SOURCE CODE.” The Producing Party may challenge the amount of


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source code requested in hard copy form pursuant to the dispute resolution procedure and

timeframes set forth in Paragraph 6 whereby the Producing Party is the “Challenging Party” and

the Receiving Party is the “Designating Party” for purposes of dispute resolution.

       (e)     The Receiving Party shall maintain a record of any individual who has inspected

any portion of the source code in electronic or paper form. The Receiving Party shall maintain all

paper copies of any printed portions of the source code in a secured, locked area. The Receiving

Party shall not create any electronic or other images of the paper copies and shall not convert any

of the information contained in the paper copies into any electronic format. The Receiving Party

shall only make additional paper copies if such additional copies are (1) necessary to prepare

court filings, pleadings, or other papers (including a testifying expert’s expert report), (2)

necessary for deposition, or (3) otherwise necessary for the preparation of its case. Any paper

copies used during a deposition shall be retrieved by the Producing Party at the end of each day

and must not be given to or left with a court reporter or any other unauthorized individual.

       (f)     The Producing Party shall install tools that are sufficient for viewing the Source

Code produced for inspection on the Source Code Computer. The Parties shall meet and confer

regarding any additional tools that the Receiving Party may request be added. To the extent

additional tools are provided at the request of the Receiving Party, the Receiving Party is

responsible for securing the appropriate licenses to such software tools.

       (g)     No recordable media or recordable devices, including, without limitation, sound

recorders, computers, peripheral equipment, cameras, CDs, DVDs, or drives of any kind, will be

permitted into the Source Code review room. Cellular telephones may be permitted into the

Source Code review room, but they must be powered off before entering.

       (h)     The Receiving Party’s Outside Counsel and/or experts/consultants will be entitled


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to take notes relating to the Source Code but may not copy the Source Code into the notes. For

avoidance of doubt, the Receiving Party may take these notes with them out of the room

containing the Source Code and transfer their contents to electronic form (e.g., by scanning or

typing).

10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
       LITIGATION

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

– SOURCE CODE” that Party must:

       (a) promptly notify in writing the Designating Party. Such notification shall include a

copy of the subpoena or court order;

       (b) promptly notify in writing the party who caused the subpoena or order to issue in the

other litigation that some or all of the material covered by the subpoena or order is subject to this

Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

       (c) cooperate with respect to all reasonable procedures sought to be pursued by the

Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the

subpoena or court order shall not produce any information designated in this action as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

“HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the court from

which the subpoena or order issued, unless the Party has obtained the Designating Party’s

permission. The Designating Party shall bear the burden and expense of seeking protection in

that court of its confidential material – and nothing in these provisions should be construed as

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authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from

another court.

11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
         LITIGATION

         (a)     The terms of this Order are applicable to information produced by a Non-Party in

this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE”. Such

information produced by Non-Parties in connection with this litigation is protected by the

remedies and relief provided by this Order. Nothing in these provisions should be construed as

prohibiting a Non-Party from seeking additional protections.

         (b)     In the event that a Party is required, by a valid discovery request, to produce a

Non-Party’s confidential information in its possession, and the Party is subject to an agreement

with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

                 1.     promptly notify in writing the Requesting Party and the Non-Party that

some or all of the information requested is subject to a confidentiality agreement with a Non-

Party;

                 2.     promptly provide the Non-Party with a copy of the Stipulated Protective

Order in this litigation, the relevant discovery request(s), and a reasonably specific description of

the information requested; and

                 3.     make the information requested available for inspection by the Non-Party.

         (c)     If the Non-Party fails to object or seek a protective order from this court within 14

days of receiving the notice and accompanying information, the Producing Party may produce

the Non-Party’s confidential information responsive to the discovery request, unless doing so

would not comply with a contractual obligation of the Producing Party to the Non-Party to

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provide notice longer than 14 days, in which case the applicable notice period shall be such

contractual obligation period. Regardless of such period, the Producing Party shall endeavor to

resolve any concerns regarding notice within 30 days. If the Non-Party timely seeks a protective

order, the Producing Party shall not produce any information in its possession or control that is

subject to the confidentiality agreement with the Non-Party before a determination by the court.

Absent a court order to the contrary, the Non-Party shall bear the burden and expense of seeking

protection in this court of its Protected Material.

       (c)     Any discovery requests, including subpoena and deposition notices, propounded

to Non-Parties must be accompanied by a copy of this Stipulated Protective Order.

12.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective

Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Order, and (d) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

13.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
       MATERIAL

       The Parties and Court expect to enter a separate Order under Fed. R. Evid. 502(d) that

governs the production of documents protected from discovery.

14.    MISCELLANEOUS

       14.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.


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       14.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

Order no Party waives any right it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Stipulated Protective Order. Similarly,

no Party waives any right to object on any ground to use in evidence of any of the material

covered by this Protective Order.

       14.3    Export Control. Disclosure of Protected Material shall be subject to all applicable

laws and regulations relating to the export of technical data contained in such Protected Material,

including the release of such technical data to foreign persons or nationals in the United States or

elsewhere. The Producing Party shall be responsible for identifying any such controlled technical

data, and the Receiving Party shall take measures necessary to ensure compliance with

applicable export control laws, including confirming that no unauthorized foreign person has

access to such technical data.

       Without the consent of the Producing Party, HIGHLY CONFIDENTIAL – SOURCE

CODE materials shall not leave the territorial boundaries of the United States of America except

when reasonably necessary for international depositions.

       14.4    Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Party may not file in

the public record in this action any Protected Material. A Party that seeks to file under seal any

Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be

filed under seal pursuant to a court order authorizing the sealing of the specific Protected

Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a

request establishing that the Protected Material at issue is privileged, protectable as a trade

secret, or otherwise entitled to protection under the law. If a Receiving Party’s request to file


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Protected Material under seal pursuant to Civil Local Rule 79-5 is denied by the court, then the

Receiving Party may file the Protected Material in the public record pursuant to Civil Local Rule

79-5 unless otherwise instructed by the court.

15.    FINAL DISPOSITION

       Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such

material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

compilations, summaries, and any other format reproducing or capturing any of the Protected

Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

submit a written certification to the Producing Party (and, if not the same person or entity, to the

Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all

the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

not retained any copies, abstracts, compilations, summaries or any other format reproducing or

capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

product, and consultant and expert work product, even if such materials contain Protected

Material. Any such archival copies that contain or constitute Protected Material remain subject to

this Protective Order as set forth in Section 4 (DURATION).




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       IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: January 24, 2024                    By:         /s/ Joseph R. Saveri
                                                          Joseph R. Saveri
                                           Joseph R. Saveri (State Bar No. 130064)
                                           Cadio Zirpoli (State Bar No. 179108)
                                           Christopher K.L. Young (State Bar No. 318371)
                                           Travis Manfredi (State Bar No. 281779)
                                           Kathleen J. McMahon (State Bar No. 340007)
                                           JOSEPH SAVERI LAW FIRM, LLP
                                           601 California Street, Suite 1000
                                           San Francisco, California 94108
                                           Telephone:     (415) 500-6800
                                           Facsimile:     (415) 395-9940
                                           Email:         jsaveri@saverilawfirm.com
                                                          czirpoli@saverilawfirm.com
                                                          cyoung@saverilawfirm.com
                                                          tmanfredi@saverilawfirm.com
                                                          kmcmahon@saverilawfirm.com

                                           Matthew Butterick (State Bar No. 250953)
                                           1920 Hillhurst Avenue, #406
                                           Los Angeles, CA 90027
                                           Telephone:     (323) 968-2632
                                           Facsimile:     (415) 395-9940
                                           Email:         mb@buttericklaw.com

                                           Daniel J. Muller (State Bar No. 193396)
                                           VENTURA HERSEY & MULLER, LLP
                                           1506 Hamilton Avenue
                                           San Jose, California 95125
                                           Telephone:     (408) 512-3022
                                           Facsimile:     (408) 512-3023
                                           Email:         dmuller@venturahersey.com

                                           Bryan L. Clobes (admitted pro hac vice)
                                           CAFFERTY CLOBES MERIWETHER
                                           & SPRENGEL LLP
                                           205 N. Monroe Street
                                           Media, PA 19063
                                           Telephone: (215) 864-2800
                                           Email:        bclobes@caffertyclobes.com




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                                          Alexander J. Sweatman (pro hac vice anticipated)
                                          CAFFERTY CLOBES MERIWETHER
                                          & SPRENGEL LLP
                                          135 South LaSalle Street, Suite 3210
                                          Chicago, IL 60603
                                          Telephone: (312) 782-4880
                                          Email:        asweatman@caffertyclobes.com

                                          Counsel for Plaintiffs and the Proposed Class




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Dated: January 24, 2024                    By:         /s/ Bobby Ghajar
                                                          Bobby Ghajar

                                           Bobby Ghajar (State Bar No. 198719)
                                           Colette Ghazarian (State Bar No. 322235)
                                           COOLEY LLP
                                           1333 2nd Street, Suite 400
                                           Santa Monica, California 90401
                                           Telephone: (310) 883-6400
                                           Facsimile: (310) 883-6500
                                           Email:         bghajar@cooley.com
                                                         cghazarian@cooley.com

                                           Mark Weinstein (State Bar No. 193043)
                                           Kathleen Hartnett (State Bar No. 314267)
                                           Judd Lauter (State Bar No. 290945)
                                           COOLEY LLP
                                           3175 Hanover Street
                                           Palo Alto, CA 94304-1130
                                           Telephone: (650) 843-5000
                                           Facsimile: (650) 849-7400
                                           Email:         mweinstein@cooley.com
                                                         khartnett@cooley.com
                                                         jlauter@cooley.com

                                           Mark A. Lemley (State Bar No. 155830)
                                           LEX LUMINA PLLC
                                           745 Fifth Avenue, Suite 500
                                           New York, NY 10151
                                           Telephone: (646) 898-2055
                                           Facsimile: (646) 906-8657
                                           Email:         mlemley@lex-lumina.com

                                           Attorneys for Defendant
                                           META PLATFORMS, INC.




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PURSUANT TO STIPULATION, IT IS SO ORDERED.


Dated:
                                           HONORABLE THOMAS S. HIXSON
                                           United States Magistrate Judge




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                                            EXHIBIT A

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

               I, _____________________________ [print or type full name], of

_________________ [print or type full address], declare under penalty of perjury that I have

read in its entirety and understand the Stipulated Protective Order that was issued by the United

States District Court for the Northern District of California on [date] in the case of Kadrey, et al.

v. Meta Platforms, Inc., Case No. 3:23-cv-03417-VC, I agree to comply with and to be bound by

all the terms of this Stipulated Protective Order and I understand and acknowledge that failure to

so comply could expose me to sanctions and punishment in the nature of contempt. I solemnly

promise that I will not disclose in any manner any information or item that is subject to this

Stipulated Protective Order to any person or entity except in strict compliance with the

provisions of this Order.

               I further agree to submit to the jurisdiction of the United States District Court for

the Northern District of California for the purpose of enforcing the terms of this Stipulated

Protective Order, even if such enforcement proceedings occur after termination of this action.

               I hereby appoint __________________________ [print or type full name] of

_______________________________________ [print or type full address and telephone

number] as my California agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order.



Date: _________________________________

City and State where sworn and signed: _________________________________

Printed name: ______________________________
              [printed name]

Signature: __________________________________
              [signature]



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                                  ATTESTATION OF FILER

       Pursuant to Civil L.R. 5-1(h)(3), regarding signatures, I, Joseph R. Saveri, attest that

concurrence in the filing of this document has been obtained.



 Dated: January 24, 2024                          Respectfully submitted,

                                                  By:           /s/ Joseph R. Saveri
                                                                    Joseph R. Saveri




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